Plaintiff in error filed an application for a certificate of convenience and necessity for hauling freight over a regular route between Barnesville, Woodsfield, Lewisville, Graysville and Antioch. An owner of a certificate operating between Barnesville *Page 682 
and Woodsfield filed his protest thereto. Upon the hearing there was a finding that the service rendered by the protestant between Barnesville and Woodsfield was adequate and sufficient. A certificate was offered to the applicant permitting him to operate between Woodsfield and other connecting points, which the applicant refused to accept unless his entire application was granted. Thereupon the commission denied the application.
This court is of opinion that, upon the evidence adduced, the commission committed no error in denying the application. On consideration whereof it is ordered and adjudged by this court that the order of the said Public Utilities Commission of Ohio be, and the same hereby is, affirmed.
Order affirmed.
MARSHALL, C.J., JONES, MATTHIAS, DAY, ALLEN, KINKADE and ROBINSON, JJ., concur.